                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                          DOCKET NO. 5:17-cv-00218-FDW-DSC
 DELINDA GAYE BOWLES,          )
                               )
       Plaintiff,              )
                               )
 vs.                           )                                NOTICE OF HEARING
                               )
 EQUIFAX INFORMATION SERVICES, )
 INC.,                         )
                               )
       Defendant.              )
                               )

       TAKE NOTICE that a hearing on Defendant’s Motion for Summary Judgment (Doc. No.

21) will take place on December 3, 2018, at 3:00 p.m. in Courtroom #1-1 of the Charles R. Jonas

Federal Building, 401 W. Trade Street, Charlotte, North Carolina 28202. The parties’ oral

arguments will be limited to fifteen (15) minutes per side.

       IT IS SO ORDERED.

                                          Signed: November 8, 2018




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